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     7

     8                             UNITED STATES DISTRICT COURT
     9          CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
    10

    11   GERALD IACONO, an individual     )               CASE NO.: 2:17-cv-08083-FMO-PLA
                                          )
    12                      Plaintiff,    )               SUPPLEMENTAL DECLARATION
                                          )               OF LAUREN A. DEAN IN SUPPORT
    13   vs.                              )
                                                          OF PLAINTIFF’S MOTION TO
                                          )
    14   INTERNATIONAL BUSINESS           )               COMPEL THE DEPOSITION OF
         MACHINES CORPORATION, a New )                    STEPHEN LEONARD AND
    15   York corporation; and DOES 1-50, )               REQUEST FOR SANCTIONS
         inclusive,                       )
    16                                    )               BEFORE THE HONORABLE
                            Defendants.   )               PAUL L. ABRAMS
    17                                    )
                                          )               DATE: January 16, 2019
    18                                    )               TIME: 10:00 a.m.
                                          )               COURTROOM: 780
    19                                    )
                                          )               CASE FILED: 09/20/2017
    20                                    )
                                          )               DISCOVERY CUT OFF: 01/22/19
    21                                    )
                                          )               PRETRIAL CONF. DATE: 07/26/19
    22                                    )               TRIAL DATE: 08/13/19
                                          )
    23                                    )
                                          )
    24                                    )
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          Supp. Dean Declaration in Support of Motion to Compel Deposition of Stephen Leonard
         {Client Files-NEW/IACO01/001/PLD/00088661.DOC}                        Printed on Recycled Paper
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     1   I, Lauren Dean, declare:
     2           1.      I am an attorney admitted to practice before the courts of the State of
     3   California, and the United States District Court (Central District), and am a partner
     4   with the law firm of Magnanimo & Dean, LLP, counsel of record for Plaintiff
     5   Gerald Iacono (“Plaintiff”). I have personal knowledge of the facts stated below
     6   and if called upon to testify, I could and would competently testify thereto.
     7           2.      This Declaration is being filed in support of Plaintiff’s Motion to
     8   Compel the Deposition of Stephen Leonard and Request for Sanctions.
     9           3.      Iacono was scheduled to take the deposition of Mark Dallessandro on
    10   September 5, 2018. Attached hereto as Exhibit 1 is a true and correct copy of the
    11   Notice.
    12           4.      However, because of my accident on September 1, 2018, the
    13   deposition never went forward.
    14           5.      Thereafter, Iacono noticed only the Rule 30(b)(6) deposition on topics
    15   wherein IBM designated Mark Dalessandro. Attached hereto as Exhibit 2 is a true
    16   and correct copy of the Notice.
    17           6.      The Rule 30(b)(6) deposition went forward on November 6, 2018. On
    18   November 6, 2018, Iacono did not take the deposition of Mark Dallessandro in his
    19   personal capacity.
    20

    21           I declare under penalty of perjury under the laws of the United States of
    22   America and the State of California that the foregoing is true and correct.
    23           Executed on January 2, 2019 at Woodland Hills, California.
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    25                                                    /s/ Lauren A. Dean
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          Supp. Dean Declaration in Support of Motion to Compel Deposition of Stephen Leonard
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                                            EXHIBIT 1
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                                         EXHIBIT 2
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